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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------- X                                 3/26/15
                                                               :
DEVON MILLINGTON,                                              :
                                             Petitioner,       :
                                                               :   11 Civ. 499 (LGS)(DCF)
                           -against-                           :
                                                               :   OPINION AND ORDER
WILLIAM LEE,                                                   :
                                             Respondent. :
                                                               :
------------------------------------------------------------- X

LORNA G. SCHOFIELD, District Judge:

        Petitioner Devon Millington brings this petition for a writ of habeas corpus pursuant to 28

U.S.C. § 2254, challenging his conviction for murder in the first degree (the “Petition”). This

case was referred to the Honorable Debra Freeman for a report and recommendation (the

“Report”). The Report was filed on August 14, 2014, and recommends that the writ be granted

on Petitioner’s claim of ineffective assistance of counsel because his counsel misinformed him

about the maximum possible sentence after trial. In particular, the Report recommends that the

prosecution be directed to re-extend its plea offer to Petitioner and, assuming Petitioner accepts

the plea offer, present it to the trial court.

        On August 28, 2014, Respondent filed a letter under seal explaining that the prosecution

had agreed to re-extend plea offer to Petitioner as recommended in the Report. Respondent

requested, with Petitioner’s consent, that further action on the writ be stayed pending the outcome

of re-extending the plea offer. Respondent explained that he would withdraw his objections to

the Report, filed on the same day as the letter, if Petitioner successfully repleaded in state court.

        By letter from Petitioner dated March 3, 2015, the parties informed the Court that

Petitioner had successfully repleaded as recommended in the Report. Respondent withdrew his

objections and the parties consented to the Court “affirming Judge Freeman’s Report and
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Recommendation.”

       A reviewing court “may accept, reject, or modify, in whole or in part, the findings or

recommendations made by the magistrate judge.” 28 U.S.C. § 636(b)(1)(C). The district court

“may adopt those portions of the report to which no ‘specific, written objection’ is made, as long

as the factual and legal bases supporting the findings and conclusions set forth in those sections

are not clearly erroneous or contrary to law.” Adams v. N.Y. State Dep’t of Educ., 855 F. Supp.

2d 205, 206 (S.D.N.Y. 2012) (citing Fed. R. Civ. P. 72(b), Thomas v. Arn, 474 U.S. 140, 149

(1985)).

       The factual and legal bases underlying the well-considered Report are neither clearly

erroneous nor contrary to law. Accordingly, the Report is ADOPTED in its entirety. The

Petition is GRANTED in part and DISMISSED in part.

       As to Petitioner’s ineffective assistance of counsel claim, Petitioner has met the standards

for relief set forth in 28 U.S.C. § 2254 (d)( 1) and (2). He was denied his Sixth Amendment right

to effective assistance of counsel, and is thus entitled to a writ of habeas corpus, pursuant to 28

U.S.C. § 2254(a). Therefore, a writ of habeas corpus is GRANTED as further described in the

Report. The parties agree that this writ has been satisfied. Petitioner’s remaining claims are

DISMISSED.

       The Clerk of Court is directed to close this case.

       SO ORDERED.

Dated: March 26, 2015
       New York, New York




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